
OWEN, WILLIAM C., Jr., Senior Judge,
concurring specially.
I agree that under the doctrine of stare decisis we are bound to follow the holding of the high court in State v. Weller, 590 So.2d 923 (Fla.1991), a decision nearly five years in the making and filed a year after the verdict in this case. I lament, however, that we are not free to decide that the error is harmless. Jurors are charged with the responsibility of reaching a verdict based solely on the evidence. Because of uncontradicted evidence that the cocaine in question weighed 980.1 grams, it is inconceivable to me that the jury, if it found appellant guilty at all, could have found him guilty of any offense other than the one for which he was in fact convicted.
